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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IOWA PUBLIC EMPLOYEES’ RETIREMENT
SYSTEM, et al.,
Plaintiffs,
                                                       17 Civ. 6221 (KPF)
                      -v.-
MERRILL LYNCH, PIERCE, FENNER &                              ORDER
SMITH INC., et al.,

                             Defendants.

KATHERINE POLK FAILLA, District Judge:

      The Court is in receipt of Defendants’ letters dated June 24, 2020, and

June 26, 2020 (Dkt. #318, 320), and Plaintiffs’ letters dated June 24, 2020,

and June 26, 2020 (Dkt. #319, #321), and would like to have a conference with

the parties to discuss the issues raised in those letters. The parties are hereby

ORDERD to appear for a telephonic conference on July 23, 2020, at 2:00 p.m.

At 2:00 p.m. the parties shall call (888) 363-4749 and enter access code

5123533. Please note, the conference will not be available prior to 2:00 p.m.

The Court encourages the parties to designate one person from each side to

speak to these issues.

      SO ORDERED.

Dated:        July 17, 2020
              New York, New York            __________________________________
                                                 KATHERINE POLK FAILLA
                                                United States District Judge
